                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION

 THE STATE OF LOUISIANA,
 By and through its Attorney General, Jeff Landry,

                                            PLAINTIFF,

 v.                                                         CIVIL ACTION NO. 2:23-cv-00692

 UNITED STATES ENVIRONMENTAL
 PROTECTION AGENCY; et al.,

                                        DEFENDANTS.


                   SUPPLEMENTAL DECLARATION OF RYAN SEIDEMANN

        1.       My name is Ryan M. Seidemann. I am an Assistant Attorney General employed by the

Louisiana Department of Justice. Except where otherwise indicated, I make this declaration based on

my personal knowledge. I could competently testify as to its contents if called to do so.

        2.       Attached as Exhibit 52 is a true and accurate copy of USEPA’s FY 2023 Justification

of Appropriation Estimates, as obtained from www.epa.gov.1

        3.       Attached as Exhibit 53 is a true and accurate copy of USEPA’s FY 2024 EPA Budget

in Brief, as obtained from www.epa.gov.2

        4.       Attached as Exhibit 54 is a true and accurate copy of correspondence and a Voluntary

Compliance Agreement (Missouri), as obtained from www.epa.gov.3

        5.       Attached as Exhibit 55 is a true and accurate copy of correspondence and an Informal

Resolution Agreement (Michigan), as obtained from www.epa.gov.4


1 https://www.epa.gov/system/files/documents/2022-04/fy-2023-congressional-justification-all-tabs.pdf
2 https://www.epa.gov/system/files/documents/2023-03/fy-2024-epa-bib.pdf.
3 https://www.epa.gov/system/files/documents/2023-05/2022.06.22%2001RNO-20-

R7%20FINAL%20Recipient%20Correspondence%20and%20VCA.pdf.
4 https://www.epa.gov/system/files/documents/2023-

08/Resolution%20Letter%20and%20Informal%20Resolution%20Agreement%2C%20EPA%20Complaint%20No.%20
01RNO-22-R5%20%28MI%20EGLE%20Ajax%29.pdf


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         6.       Attached as Exhibit 56 is a true and accurate copy of a Michigan Department of EGLE

statement on resolution, as obtained from www.michigan.gov.5

         7.       Attached as Exhibit 57 is a true and accurate copy of an Interim Resolution Agreement

(Alabama), as obtained from www.justice.gov.6

         8.       Attached as Exhibit 58 is a true and accurate copy of a press release, as obtained from

www.epa.gov.7

         9.       Attached as Exhibit 59 is a true and accurate copy of a letter dated July 28, 2023, as

obtained from www.epa.gov.8

         10.      Attached as Exhibit 60 is a true and accurate copy of a complaint by Sierra Club dated

August 25, 2023, as obtained from www.epa.gov.9

         11.      Attached as Exhibit 61 is a true and accurate copy of a Title VI Legal Manual, as

obtained from www.justice.gov.10

         12.      Attached as Exhibit 62 is a true and accurate copy of a news article, as obtained from

apnews.com.

         13.      Attached as Exhibit 63 is a true and accurate copy of a news article, as obtained from

i.com.

         14.      Attached as Exhibit 64 is a true and accurate copy of a news article dated April 27,

2023, as obtained from insideepa.com.

         15.      Attached as Exhibit 65 is a true and accurate copy of a news article dated July 13, 2023,

as obtained from insideepa.com.



5 https://www.michigan.gov/egle/newsroom/press-releases/2023/08/10/egle-statement.
6 https://www.justice.gov/opa/press-release/file/1582566/download.
7 https://www.epa.gov/newsreleases/icymi-his-journey-justice-epa-administrator-michael-s-regan-toured-historically.
8 https://www.epa.gov/system/files/documents/2023-07/07RNO-23-R6%20REC%20Rejection-07-28-23.pdf.
9 https://www.epa.gov/system/files/documents/2023-09/11r-23-r4-complaint_redacted.pdf.
10https://www.justice.gov/crt/book/file/1364106/download#:~:text=Specifically%2C%20Title%20VI%20provides%2

0as,%C2%A7%202000d.


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        16.        Attached as Exhibit 66 is a true and accurate copy of a news article dated August 24,

2023, as obtained from insideepa.com.

        17.        Attached as Exhibit 67 is a true and accurate copy of a news article dated September

26, 2023, as obtained from insideepa.com.

        18.        Attached as Exhibit 68 is a true and accurate copy of a news article dated August 29,

2023, as obtained from wwno.org.

        19.        Attached as Exhibit 69 is a true and accurate copy of a news article dated September

4, 2023, as obtained from www.npr.org.

        20.        Attached as Exhibit 70 is a true and accurate copy of a news article dated June 28,

2023, as obtained from www.pbs.org.

        21.        Attached hereto as Exhibit 71 is an NPR story dated September 20, 2023, which is

available     at   https://www.wwno.org/podcast/sea-change/2023-09-20/abandoned-in-plantation-

country. Also at that link is a recording of an NPR segment. In that recording, an NPR reporter speaks

with a woman identified as Sharon Lavigne of RISE St. James, who was one of the Title VI

complainants. At around 16:30-55 of the recording, Ms. Lavigne recounts a conversation she had with

an EPA official, wherein the official admits EPA’s motivation for dismissing the pending Title VI

Complaints against LDEQ and LDH. Specifically, Ms. Lavigne recounts that EPA official told her

“not to give up hope on them, [t]hey can’t explain everything of why they dropped the investigation,

and they said that they did it to protect the program.”

        22.        Attached hereto as Exhibit 72 is a Bloomberg BNA article dated February 24, 2017,

as obtained from https://web.archive.org/web/20170312100855/https://www.bna.com/permits-

flint-burnt-n57982084397/

        23.        Further declarant sayeth naught.




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I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED
STATES OF AMERICA AND THE STATE OF LOUISIANA THAT THE FOREGOING
IS TRUE AND CORRECT. 28 U.S.C. § 1746.

    Sworn and subscribed this 29th day of September, 2023, in Baton Rouge, Louisiana

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    RYAN M. SEIDEMANN, Ph.D.




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